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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                              4:11CR00127-02 JMM

BEVERLY JUNE COBURN


                                           ORDER

       Pending is the Government’s Motion to Dismiss Indictment against Beverly June

Coburn. For good cause shown the Motion to Dismiss (Docket # 34) is GRANTED. The

indictment against Ms. Coburn is dismissed without prejudice.

       IT IS SO ORDERED this 3rd day of October, 2011.



                                                   _________________________________
                                                   James M. Moody
                                                   United States District Judge
